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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION


In re CASSAVA SCIENCES INC.            §
SECURITIES LITIGATION                  §    Master File No. 1:21-cv-00751-DAE
                                       §
                                       §            CLASS ACTION
This Document Relates to:              §
                                       §
              ALL ACTIONS              §
                                       §




                    DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                      MOTION FOR CLASS CERTIFICATION
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                                       INTRODUCTION

       This case is anything but a “routine” securities class action. Motion for Class Certification

(ECF 148) (“Motion”) at 1. During the class period, Cassava’s stock was considered a “meme

stock”—a stock subject to extraordinary volatility due to viral social media attention by retail

investors, divorced from the value of the underlying company. “Meme stocks” are a relatively new

phenomenon, thrust into the public eye beginning in 2021 with the meteoric rise of stocks like

GameStop, AMC Entertainment, Blackberry, and others. Meme stocks sent “shockwaves through

Wall Street” because such retail trading “def[ied] conventional market wisdom.” 1 Because of “the

potential for such activities to distort market dynamics and undermine fair and efficient price

discovery mechanisms,” 2 academics and market participants have found evidence that the markets

for meme stocks are inefficient. Ex. 1, Expert Report of Rene Stulz, Ph.D. (“Stulz Rpt.”) ¶ 58. 3

       The disconnect between meme stocks and typical market efficiency poses an

insurmountable obstacle to class certification here. The irrationality of meme stock pricing is a

gamechanger for the issue of reliance that has long been the focus of certification disputes in

securities cases. See Goldman Sachs Grp., Inc. v. Arkansas Tchr. Ret. Sys., 594 U.S. 113, 118

(2021); Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 278 (2014) (Halliburton II);



1
  Ex. 6, “Meme Stocks Frenzy Reignites Debate Over Market Integrity,” Forbes (May 15, 2024).
Unless otherwise noted, all “Ex.” references are to the Affidavit of Scott Campbell in Support of
Defendants’ Opposition to Plaintiffs’ Opposed Motion for Class Certification.
2
  Id.
3
  Dr. Stulz is the Everett D. Reese Chair of Banking and Monetary Economics at the Ohio State
University, Director of the Dice Center for Research in Financial Economics, Research Associate
of the National Bureau of Economic Research, former editor of the Journal of Finance and the
Journal of Financial Economics, and former President of the American Finance Association. Dr.
Stulz holds a Ph.D. in Economics from the Massachusetts Institute of Technology and is a
recognized finance scholar, having authored more than 100 journal articles and several textbooks.
Courts have relied on Dr. Stulz’s expert opinions in a number of class certification proceedings,
including within the Fifth Circuit. E.g., In re BP p.l.c. Sec. Litig., 2013 WL 6388408, at *4 (S.D.
Tex. Dec. 6, 2013).

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Basic Inc. v. Levinson, 485 U.S. 224, 242-46 (1988). 4 Although reliance can be presumed on a

classwide basis when a stock is trading in an efficient market, see Goldman, 594 U.S. at 118-20,

when a stock’s price is not correlated with the release of value-relevant information, the impact of

certain disclosures or omissions cannot be presumed, see Halliburton II, 573 U.S. at 283.

          Reliance cannot be presumed here. Cassava’s stock price was just as likely to change

significantly solely due to increased social media discussion, unrelated to any value-relevant news,

as it was in response to any actual new information. Cf. Krogman v. Sterritt, 202 F.R.D. 467, 477

(N.D. Tex. 2001) (explaining that “in an efficient market, a stock’s price remains relatively stable

in the absence of news”); see also Stulz Rpt. ¶¶ 51-94. Indeed, for a majority of the supposed

“corrective disclosures,” there was no statistically significant impact on the stock’s price.

          A cursory analysis of the market for the stock, lacking in rigor and care, is not sufficient to

establish efficiency in such circumstances. Yet Plaintiffs ignore the meme-stock dynamics of this

case, asserting the case is “no different” from other securities cases and providing cursory

arguments supported only by a basic, rinse-and-repeat expert report that is unreliable in this

context. See Motion at 1-2, 12-20; Expert Report of Steven Feinstein (ECF 148-7) (“Feinstein

Rpt.”).

          Because the critical issue of reliance cannot be proven on a classwide basis, the Court

should not certify Plaintiffs’ proposed class. But that is not the only fatal flaw in Plaintiffs’ Motion.

By ignoring evidence of inefficiency and the inherent complications associated with pricing a

meme stock, Plaintiffs have failed to show how damages can possibly be calculated on a classwide

basis. See Comcast Corp. v. Behrend, 569 U.S. 27, 34-35 (2013). And even if Plaintiffs somehow


4
  Since 2021, multiple courts have wrestled with the interaction between meme stocks and reliance
in class certification disputes. E.g., Shupe v. Rocket Companies, Inc., 2024 WL 416377 (E.D.
Mich. Feb. 5, 2024) (motion for class certification pending); In re Jan. 2021 Short Squeeze Trading
Litig., 2023 WL 9035671 (S.D. Fla. Nov. 13, 2023) (motion for class certification denied).

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could show an efficient market for Cassava stock, their claims would not be typical of the class.

Plaintiffs were retail traders swept up in the meme stock phenomenon, making reckless bets

disconnected from any disclosures about the company.

                                 FACTUAL BACKGROUND

       While Cassava somehow achieved “meme stock” status during the class period, Cassava

is a very real company with a dedicated team focused on a singularly important mission: the

detection and treatment of Alzheimer’s disease.

I.     Cassava’s Clinical Development of the Promising Alzheimer’s Treatment Simufilam

       Alzheimer’s disease is a brain condition causing cognitive decline in millions of people

across the globe, including more than 5 million people in the United State alone. Cassava is

committed to developing successful drug candidates that treat and slow the progression of

Alzheimer’s disease. Its executive team includes seasoned experts in drug development and

approval, including professionals with experience at Johnson & Johnson, Pfizer, Sanofi, Ciba-

Geigy, and various clinical-stage biopharmaceutical companies. Together, Cassava’s team has

guided the company’s leading drug candidate, simufilam, through development and into clinical

trials. The FDA accepted Cassava’s Investigational New Drug submission for simufilam in 2017,

and Cassava conducted Phase 1 trials on 24 healthy volunteers, showing no treatment-related

adverse effects. Cassava then undertook multiple Phase 2 clinical trials, treating small groups of

Alzheimer’s patients with 50 mg or 100 mg doses of simufilam over a 28-day period. See Ex. 29,

2023 Form 10-K, at 9-10.

       Cassava has since undertaken larger studies of simufilam. Cassava enrolled 200 mild-to-

moderate Alzheimer’s disease patients in a 24-month Phase 2 safety study, including a 12-month

open-label treatment phase; a 6-month randomized, placebo-controlled withdrawal phase; and 6

additional months of open-label treatment. Between January 2023 and February 2024, Cassava

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announced results for each phase, showing that the treatment appeared safe and well-tolerated, and

that cognitive testing results appeared favorable. Id. at 10-15.

       With agreement from the FDA that the completed Phase 2 program, together with an

ongoing and well-defined Phase 3 clinical program, were sufficient to potentially show evidence

of clinical efficacy for simufilam in Alzheimer’s disease, Cassava is now in the process of

undertaking 52-week and 76-week Phase 3 clinical trials. The Phase 3 trials are currently ongoing

and fully enrolled with a total of 1,900 mild-to-moderate Alzheimer’s disease patients at various

clinical sites. Top-line data for the 52-week study are expected at approximately year-end 2024,

with data for the 76-week study expected mid-year 2025. Id. at 15-19.

II.    Retail Meme-Stock Trading Caused Cassava’s Stock Price to Swing Wildly in 2021

       In 2021, Cassava was swept up in the “meme stock phenomenon.” Meme stocks are

characterized by “high levels of enthusiasm from investors on social media and online platforms

such as Reddit and Twitter, which could lead to dramatic swings in prices and increases in trading

volume.” Stulz Rpt. ¶ 57.

       Cassava was a leading meme stock during the class period. Indeed, the only two stocks in

the Russell 2000 that saw higher gains than Cassava in the first half of 2021 were GameStop and

AMC Entertainment—the two paradigmatic examples of meme stocks. 5 Market participants,

business publications, and professional analysts described Cassava as a meme stock. In 2021 alone,




5
 Ex. 7, “Drugmaker With No Product Gains 911% on Alzheimer’s, Meme Hopes,” Bloomberg,
June 8, 2021 (“The company is the third biggest gainer this year behind GameStop Corp. and AMC
Entertainment Holdings Inc. in the Russell 2000.”).

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Bloomberg, 6 the Financial Times, 7 Business Insider, 8 and MarketWatch 9 all attributed large

movements in Cassava’s price to “meme traders.” Cassava also was included in the Solactive

Roundhill Meme Stock Index, which tracks meme stocks. Stulz Rpt. ¶ 66.

       Cassava’s stock was the subject of zealous enthusiasm on social media platforms.

Cassava’s mentions on Reddit and Twitter averaged over 200 mentions per day in 2021, and

included peaks of over 1,500 mentions per day. See Stulz Rpt. Exs. 1A & 1B. In fact, on August

25, 2021, Business Insider recognized Cassava as one of the top-mentioned stocks in a 10-million-

member online forum known to drive the meme-stock phenomenon, WallStreetBets. 10

       During this period, Cassava’s stock price frequently underwent massive swings in the

absence of any new, value-relevant information about the company.

       Specifically, on December 31, 2020—nearly two months after Defendants had released the

final Phase 2b clinical trial results, more than a year since the Phase 2a results were public, and

after Defendants had supposedly been misrepresenting the merits of Cassava’s pre-clinical

research for over a decade—Cassava’s stock price closed at $6.82 per share. But during January

2021, Cassava’s stock price nearly quadrupled, closing near $23 per share on February 1, 2021,

despite no new value-relevant news being released.

       The next day, Cassava released interim 6-month cognition results from its Phase 2 open-

label drug safety study. See Ex. 30 (February 2, 2021 Press Release). Cassava reported that patients



6
  Id.; Ex. 8, “Biotech Finds Market Love at Last as Meme Traders, FDA Converge,” Bloomberg
(June 11, 2021).
7
  Ex. 9, “Global Stocks Rise for Best Week Since November,” Financial Times, Feb. 5, 2021.
8
  Ex. 10, “Short Sellers Betting Against Meme Stock Cassava Have Made $100 Million Over the
Past Month,” Business Insider (Aug. 31, 2021).
9
  Ex. 11, “Short Sellers Hit Back at Cassava Lawsuit,” MarketWatch (Nov. 11, 2022).
10
   E.g., Ex. 12, “Meme Stocks Are Riding a Wave of Reddit Enthusiasm Again, as Traders Cheer
Fresh Gains in GameStop, AMC, and BlackBerry,” Business Insider (Aug. 25, 2021); see also
Ex. 13, “WallStreetBets Reddit Group: What Is It?” CoinDesk (Jan. 28, 2021).

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“improved cognition scores by 1.6 points on ADAS-Cog11, a 10% mean improvement from

baseline to month 6.” Id. 11 Notwithstanding the lack of a placebo control in this open-label study,

the relatively small sample size (the first 50 patients to complete 6 months on the drug), and the

relatively short, 6-month timeframe, “SAVA” (Cassava’s stock ticker) began being mentioned on

Reddit and Twitter more than 1,600 times per day. See Stulz Rep. Exs. 1A & 1B.

          Between February 3 and 5, 2021, Cassava’s share price fluctuated from $60 all the way to

$117 before falling all the way back down to $45. No new information was published on those

days. That volatility was instead associated with increased social media activity surrounding

Cassava’s stock. See Stulz Rpt. ¶ 82.

          Cassava’s price continued to fluctuate between February 5 and July 28, 2021, nearly

tripling in value to close at $135 per share on July 28. Such swings occurred despite no new, value-

relevant information being released on days with statistically significant price increases. Feinstein

Rpt. Exs. 14 & 15. Instead of “news,” this enormous increase was attributed to retail trading.

See Stulz Rpt. ¶¶ 83-84 (describing massive price increases on June 11 and July 21, 2021

associated with increased social media activity in the absence of any new information). As a Cantor

Fitzgerald securities analyst covering Cassava noted in July 2021, this increase was a result of

short-term retail traders, who collectively now owned 60% of Cassava’s stock. See Ex. 14 (Cantor

Fitzgerald, July 14, 2021).

          The day after that $135 closing price, the company released new information—and it was

good. Cassava reported additional ADAS-Cog results from its Phase 2 open-label study, showing

that 50 patients who had now been taking simufilam for 9 months showed significant cognitive

improvement. Market analysts were encouraged by this data, which they described as “positive,”



11
     Plaintiffs have not alleged any misrepresentations regarding this study.

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Ex. 15 (JonesTrading, July 29, 2021), and “better than expected,” Ex. 16 (H.C. Wainwright, July

30, 2021).

       Yet despite these positive results, Cassava’s share price plummeted, closing at $103 on July

29, 2021, down 29% from the intraday high of $146, and closing at $69 on July 30, 2021, a drop

of more than 50% from the intraday high the day before.

III.   The Citizen Petition’s Allegations Targeted Aspects of Simufilam’s Research

       It was in this period of extreme volatility that two Cassava short sellers, Drs. David Bredt

and Geoffrey Pitt, filed a Citizen Petition with the FDA. Although they failed to disclose it when

they filed the Citizen Petition on August 18, 2021, both Drs. Bredt and Pitt held short positions in

Cassava, meaning they were set to benefit financially if Cassava’s stock fell.

       The Citizen Petition requested that the FDA “halt” any future trials of simufilam over

allegations data manipulation. See ECF 81 at 48-92 (“Citizen Petition”). The price of Cassava

stock fluctuated wildly between August 25 and August 30, 2021, ultimately dropping from $117

per share to $53 per share. The FDA denied the Citizen Petition in February 2022.

                                      LEGAL STANDARD

       Rule 23 “imposes stringent requirements for certification that in practice exclude most

claims.” Am. Exp. Co. v. Italian Colors Rest., 570 U.S. 228, 234 (2013). Plaintiffs seek certification

under Rule 23(b)(3), meaning they bear the burden of showing not just that the Rule 23(a)

requirements are met, but also that common issues predominate and that a class action is the

superior method of adjudicating this case. Fed. R. Civ. P. 23(b)(3).

       Plaintiffs must go beyond the “mere pleading” and “affirmatively demonstrate” and

“prove” compliance with each of the requirements. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

350 (2011). The Rule 23 requirements must be established by at least a preponderance of the

evidence, Madison v. Chalmette Ref., L.L.C., 637 F.3d 551, 554 (5th Cir. 2011); Levitt v. J.P.

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Morgan Sec., Inc., 710 F.3d 454, 464-65 (2d Cir. 2013), and Plaintiffs’ proffered evidence must

be subjected to “rigorous analysis” because “actual, not presumed, conformance” with Rule 23 is

“indispensable” to any class certification, Dukes, 564 U.S. at 350-51. See Unger v. Amedisys Inc.,

401 F.3d 316, 322-23 (5th Cir. 2005) (“Courts have likened the degree of proof required to the

standards used in preliminary injunction hearings…or in…12(b)(1) and 12 (b)(2) jurisdiction

contexts.”); see also Madison, 637 F.3d at 554. Reliable evidence is especially important when

expert testimony is relevant to the decision to certify. Prantil v. Arkema Inc., 986 F.3d 570, 575

(5th Cir. 2021). If expert testimony does not satisfy the Daubert standard for reliability, it “cannot

‘prove’ that the Rule 23(a) prerequisites have been met.” Id. Plaintiffs fall far short of this rigorous

standard, and the Motion should be denied.

                                            ARGUMENT

I.     Plaintiffs Fail to Establish Predominance Under Rule 23(b)(3)

       In securities cases, “[w]hether common questions of law or fact predominate…often turns

on the element of reliance.” Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 810 (2011)

(Halliburton I). Reliance is inherently an individualized question. Id. at 810-11. To overcome this

obstacle, Plaintiffs attempt to invoke the rebuttable presumptions of reliance articulated in Basic

Inc. v. Levinson, 485 U.S. 224 (1988) and Affiliated Ute Citizens of Utah v. United States, 406

U.S. 128 (1972). Because Plaintiffs fail to establish that either presumption should apply, however,

they fail to show predominance under Rule 23(b)(3).

       A.      Plaintiffs Fail to Establish that the Basic Presumption Should Apply

       The Basic presumption is based on the theory that the “market price” of shares traded in

an “efficient” market “reflects all publicly available information, and, hence, any material

misrepresentations.” 485 U.S. at 246. Because an “efficient” market “transmits information to the

investor in the processed form of a market price,” id. at 244, Basic holds that an investor may be

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presumed to rely on public misstatements whenever he “buys or sells stock at the price set” by that

market, id. at 247.

         Thus, to invoke the Basic presumption, Plaintiffs must prove that the market for Cassava’s

stock was “efficient” during the relevant period. Goldman Sachs Grp., Inc. v. Arkansas Tchr. Ret.

Sys., 594 U.S. 113, 118 (2021); see Unger, 401 F.3d at 322 (“Absent an efficient market, individual

reliance by each plaintiff must be proven, and the proposed class will fail the predominance

requirement.”).

         For a security’s market to be “efficient,” prices must fully reflect all material public

information and respond quickly and fully to new information. Bell v. Ascendant Sols., Inc., 422

F.3d 307, 313-14 (5th Cir. 2005) (explaining that “the hallmark of an efficient capital market” is

the extent to which “the current price reflects all available information” (citation omitted)); Unger,

401 F.3d at 324 (“In an efficient market, …material misstatements alter a stock’s price almost

immediately.”); In re Fed. Home Loan Mortg. Corp. (Freddie Mac) Sec. Litig., 281 F.R.D. 174,

182 (S.D.N.Y. Mar. 27, 2012) (“Without evidence of the prompt effect of unexpected news on

market price, the market cannot be called efficient.”). And when there is no new material

information, prices in an efficient market should remain stable. See Krogman v. Sterritt, 202 F.R.D.

467, 477 (N.D. Tex. 2001) (“[I]n an efficient market, a stock’s price remains relatively stable in

the absence of news.”); see also Finkel v. Docutel/Olivetti Corp., 817 F.2d 356, 360 (5th Cir.

1987).

         In evaluating efficiency, courts often consider the factors described in Cammer v. Bloom,

711 F. Supp 1264 (D.N.J. 1989) and Krogman, 202 F.R.D. 467 (the “Cammer/Krogman factors”),

which can support application of the Basic presumption in some circumstances. See Unger, 401

F.3d at 325 (describing the factors).




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       Because Plaintiffs must demonstrate efficiency, “[t]o defeat the presumption of reliance,

defendants do not…have to show an inefficient market. Instead, they must demonstrate that

plaintiffs’ proffered proof of market efficiency falls short of the mark.” IBEW v. Deutsche Bank

AG, 2013 WL 5815472, at *20 (S.D.N.Y. Oct. 29, 2013); see Unger, 401 F.3d at 321-22. And

Plaintiffs’ supposed evidence of efficiency falls far short of the mark here.

       First, Plaintiffs cannot establish the requisite “cause-and-effect relationship between

unexpected news and [Cassava’s] market price” during the class period. Freddie Mac, 281 F.R.D.

at 182 (denying class certification on that ground). Plaintiffs and their expert, Dr. Feinstein,

attempt to establish this relationship through a cursory analysis that fails to address (or even

mention) how Cassava stock was affected by the “meme stock” phenomenon, which caused

significant volatility in the absence of value-relevant news about the Company.

       Second, Dr. Feinstein fails to address evidence that contradicts his conclusion. Specifically,

Dr. Feinstein fails to assess the short-sale constraints on the number of Cassava shares available

for borrowing by a short-seller, or the extreme costs of short-selling Cassava’s stock. Similarly,

Dr. Feinstein has not conducted any analysis to separately establish efficiency during the later

portion of the proposed class period, when few analysts continued to cover the stock, and after

analysts stated it was too difficult to “effectively diligence” information about the company.

       Third, Dr. Feinstein’s analysis of the markets for Cassava options is flawed and unreliable.

Dr. Feinstein attempts to establish the efficiency of the Cassava options markets based on the

purported efficiency of the Cassava stock market. But this conclusion is unreliable because it (1) is

based on his unreliable assessment of efficiency for Cassava stock discussed above, and (2) ignores

the actual characteristics of the markets for Cassava options, which were characterized by

illiquidity and high transaction costs during the class period.




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                1.     Plaintiffs’ Expert Ignores Glaring Indicators of Inefficiency in the
                       Market for Cassava Stock During Portions of the Class Period,
                       Including Significant Price Volatility Tied to No News

       Plaintiffs fail to grapple with the many ways that Cassava stock departed from the workings

of an efficient market. The stock was volatile when it should have been stable. It was stable when

it should have moved. It plummeted when it should have risen in response to favorable news.

Because Plaintiffs’ expert ignores this evidence and neglects to consider its cause—the “meme

stock” phenomenon—his opinion is unreliable and cannot support certification. Stulz Rpt.

¶¶ 41-94.

       Rather than rapidly incorporating new information, Cassava’s stock price fluctuated wildly

based on the activity of retail traders during the meme stock phenomenon that characterized much

of the proposed class period. See id. ¶¶ 51-94. As noted above, market observers repeatedly

described Cassava as a “meme stock” during this time, and attributed large movements in

Cassava’s stock price to “meme traders.” E.g., Exs. 8-12. Cassava was even included in the

Solactive Roundhill Meme Stock Index, a financial index that tracked the returns of stocks

classified as meme stocks, at various points during the class period. Stulz Rpt. ¶ 66.

       As described in Dr. Stulz’s expert report, Cassava’s stock displayed all the hallmarks of an

inefficient “meme stock” during the class period: 12

            •   High Ownership by Short-Term, Retail Traders: Throughout the class period, the
                bulk of Cassava’s stock was held by individual retail traders, with the share of
                institutional ownership being unusually low. Stulz Rpt. ¶¶ 61, 105. Indeed, by one
                estimate, 60% of Cassava’s stock was held by short-term, retail traders during the
                class period. See id. ¶ 61.

12
  See also Ex. 17, Staff Report on Equity and Options Market Structure Conditions in Early 2021,
U.S. Securities and Exchange Commission (Oct. 14, 2021) (describing the characteristics of meme
stocks, including “frequent mentions on social media, including Reddit,” “large price moves or
increased trading volume that significantly exceeded broader market movements,” and an “amount
of ‘short interest,’ measured as the number of shares sold short as a portion of the total shares
outstanding” that exceeds the market average).

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             •   High Short Interest: Cassava’s stock experienced consistently high levels of short
                 interest during the class period. See id. Ex. 7. Indeed, Cassava’s short interest was
                 above the 99th percentile of U.S. stocks during the class period. See id. ¶ 98. This
                 is particularly unusual given Cassava’s low level of institutional ownership. See id.
                 ¶ 105 (noting that Cassava’s institutional ownership ranked below the 25th
                 percentile of U.S. stocks during the class period).

             •   Frequent Mentions on Social Media: Cassava was one of the top-mentioned stocks
                 on Reddit, Twitter, and other social media forums at times during the class period.13
                 Cassava’s daily mentions on Reddit skyrocketed from fewer than two per day in
                 2020 to more than 50 per day in 2021. See Stulz Rpt. Ex. 1. Similarly, Cassava’s
                 Twitter mentions quadrupled from fewer than 40 per day in 2020 to more than 160
                 per day in 2021. Stulz Rpt. Ex. 2. In the aggregate, Cassava was mentioned more
                 than 19,000 times in 2021 and more than 33,000 times during the class period on
                 Reddit, and more than 59,000 time in 2021 and more than 148,000 times during the
                 proposed class period on Twitter. Stulz Rpt. ¶ 62. Moreover, heightened activity on
                 social media frequently was associated with extreme volatility in Cassava’s stock.
                 See id. ¶¶ 79-94.

             •   Price Swings and Volatility Disconnected from Any New Information: Most
                 significantly, and as discussed below, Cassava’s stock price underwent massive
                 changes in the absence of new, value-relevant information.

          Cassava’s stock price frequently swung in the absence of any news. For example, there

was virtually no value-relevant news about Cassava released between February 2 and July 28,

2021. See Feinstein Rpt. Exs. 14 & 15. Price changes in an efficient market should have been

modest, at most, during that period. See Krogman, 202 F.R.D. at 477; Finkel v. Docutel/Olivetti

Corp., 817 F.2d at 360; see also Stulz Rpt. ¶ 34.

          But the changes in Cassava’s stock price during this “no-news” period were anything but

modest. Between February 3 and February 5, 2021, Cassava’s stock price fluctuated to as high as

$117 per share intraday before ultimately closing at under $45 per share.




13
     See, e.g., Ex. 12 (describing Cassava as one of “the most hyped stocks” on Reddit).

                                                  12
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And between July 13 to July 16, 2021, the stock price dropped to about $80 per share, before

rebounding to over $135 per share by July 28, 2021.




This zigging and zagging occurred during a time when Plaintiff’s expert found that no statistically

significant movements in the stock could be attributed to value-relevant news about Cassava.

See Feinstein Rpt. Exs. 14 & 15.

       Contrary to the “better than expected” data released on July 29, 2021, the stock price fell

that day, before plummeting further to $70 per share on Jul 30. The price then rebounded again to

over $118 per share by August 24.




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       Each of these wild swings in Cassava’s stock price was either completely disconnected

from disclosure of new information, or, in the case of the July 29 drop, contrary to positive news.

       Cassava’s stock thus demonstrated enormous volatility during a significant portion of the

class period, untethered to material information in the market. Combined with market analysts and

media’s attributing these swings to retail meme-stock traders, this volatility is compelling evidence

that the market for the stock should not be presumed “efficient” merely because Cassava was listed

on the Nasdaq and actively traded. See Stulz Rpt. ¶¶ 16-19; see also see also Krogman, 202 F.R.D.

at 477 (holding that there was “no efficient market where price movements were random and

volatile”); George v. China Auto. Sys., Inc., 2013 WL 3357170, at *12 (S.D.N.Y. July 3, 2013)

(same); ScripsAmerica, Inc. v. Ironridge Glob. LLC, 119 F. Supp. 3d 1213, 1257 (C.D. Cal. 2015)

(same); Serfaty v. Int'l Automated Sys., Inc., 180 F.R.D. 418, 423 (D. Utah 1998) (same); O'Neil

v. Appel, 165 F.R.D. 479, 503 (W.D. Mich. 1996) (same).

       Yet Plaintiffs’ expert fails to acknowledge—much less consider or explain—any of these

swings in his analysis. See Feinstein Rpt. 14 Dr. Feinstein conceded that he never even considered

how frequently Cassava was discussed on social media until just days before his deposition

(months after he completed his report). Ex. 2 (Feinstein Depo. Tr.) at 26:9-22. 15

       In concluding the market was efficient, Dr. Feinstein relied entirely on a rote analysis of

the Cammer/Krogman factors, without addressing the actual behavior of Cassava’s stock during

the class period. See Stulz Rpt. ¶¶ 45-50; see Unger, 401 F.3d at 325 (noting the Cammer/Krogman



14
   Plaintiffs’ expert also fails adequately to account for other swings in Cassava’s stock price,
including the massive swings in January 2021. Stulz Rpt. ¶¶ 47-54; see Feinstein Rpt. ¶¶ 120-86.
15
   Even then, Dr. Feinstein merely asked a research analyst to “google” search, “how frequently
Cassava was mentioned on Reddit over the course of the class period.” Ex. 2 at 46:1-5. His analyst
supposedly reported Cassava was mentioned only a “few hundred times,” which is incorrect. See
Stulz Rpt. Ex. 1. Based solely on that undocumented number, and without any further inquiry, Dr.
Feinstein “confirmed that his analysis was complete and appropriate.” Ex. 2 at 32:19-20.

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factors are an “analytical tool,” not a “checklist”). But the Cammer/Krogman factors are of limited

value in the meme stock context. Even Dr. Eugene Fama, upon whose research Basic itself relied,

has acknowledged that meme stocks, where traders act on perceptions rather than new information,

are examples of inefficient markets. 16

       Dr. Fama’s insight reveals why the Cammer/Krogman factors are not conclusive when it

comes to meme stocks. GameStop, AMC, and other meme stocks check the Cammer/Krogman

boxes. They often have substantial market capitalization, trade at high volumes (sometimes

extraordinarily high volumes), receive substantial media and analyst coverage (beyond many

similarly sized companies), are eligible for an S-3, have generally narrow bid-ask spreads, and

have significant float. 17 But as Dr. Fama explains and the trajectory of Cassava’s stock price

shows, none of these indirect indicators are dispositive of efficiency when retail traders coordinate

in trading a meme stock. Under these circumstances, more is required. See Stulz Rpt. ¶¶ 60-94.

       In short, because Dr. Feinstein fails to meaningfully engage with the facts, his report fails

to establish market efficiency. See IBEW Loc. 90 Pension Fund v. Deutsche Bank AG, 2013 WL

5815472, at *15 (S.D.N.Y. Oct. 29, 2013) (finding no efficiency where plaintiffs’ expert failed to

consider all characteristics of the relevant market); In re Northfield Lab’ys, Inc. Sec. Litig., 267

F.R.D. 536, 548 (N.D. Ill. 2010) (finding no efficiency where plaintiffs’ expert “made decisions

about [the event] study that tend[ed] to skew it towards a conclusion that the market was




16
   Ex. 18, “Nobel Winner Eugene Fama on GameStop, Market Bubbles and Why Indexing is
King,” MarketWatch (Mar. 3, 2021).
17
   See also Ex. 17 at 15-22 (explaining the high-volume trading, rapidly expanding market
capitalization, and increased media attention in GameStop stock in 2021, and how the “swings in
GME’s share price and volume” were “not unusual” for meme stocks during this period.).

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efficient”); see also Cannon v. BP Prod. N. Am., Inc., 2013 WL 5514284, at *6-17 (S.D. Tex. Sept.

30, 2013) (finding expert report unreliable and denying class certification as a result). 18

               2.      Plaintiffs’ Expert’s Cammer Factor 5 Event Study is Fatally Flawed

       Dr. Feinstein’s only attempt to directly measure market efficiency for Cassava’s stock—

his “collective event study”—is insufficient because it fails to account for the many significant

movements in Cassava’s stock price that occurred in the absence of any new information. Stulz

Rpt. ¶¶ 60-94; see George, 2013 WL 3357170, at *12; Freddie Mac, 281 F.R.D. at 182.

       As explained in Dr. Stulz’s report, many swings in Cassava’s stock price during the class

period are better explained by social media activity than by the publication of any value-relevant

news. See Stulz Rpt. ¶¶ 70-94. Dr. Stulz identified 34 days during the class period that (1) Dr.

Feinstein characterizes as “non- or lesser-news days,” but (2) on which Cassava received

extremely high levels of social-media attention. Id. ¶¶ 71-74. Applying the same significance

metric employed by Dr. Feinstein, the rate at which Cassava’s stock price underwent statistically

significant changes on these no-news dates is “indistinguishable” from the “news” dates Dr.

Feinstein identifies. Id. ¶ 75 (emphasis added). “This finding suggests that either Cassava’s stock

price was often moving in the absence of new, value-relevant information, inconsistent with the

‘cause-and-effect’ relationship Dr. Feinstein attempts to establish, or that the construction of Dr.

Feinstein’s ‘collective events study’ is deficient and flawed, or both.” Id. ¶ 19.




18
  Defendants expect Dr. Feinstein will submit a supplemental or rebuttal report with Plaintiffs’
Reply. Defendants reserve the right to seek to exclude Dr. Feinstein’s testimony under Daubert at
that time and to seek permission to file a sur-reply, if warranted. See Georgia Firefighters’ Pension
Fund v. Anadarko Petroleum Corp., 99 F.4th 770, 775 (5th Cir. 2024) (holding district court was
required to conduct full Daubert analysis in connection with motion to exclude filed after
plaintiffs’ reply in support of class certification).

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         Indeed, on at least seven of these dates, Cassava’s stock price underwent huge swings in

the absence of any new value-relevant information:

     •    February 3, 2021: 45.89% increase               •   July 21, 2021: 24.51% increase
     •    February 4, 2021: 34.00% decrease               •   November 2, 2021: 21.60% increase
     •    February 5, 2021: 35.22% decrease               •   September 22, 2022: 31.87% increase
     •    June 11, 2021: 15.30% increase

Stulz Rpt. ¶¶ 82-94. Such massive swings, “in the absence of news,” undermine any finding of

efficiency. Krogman, 202 F.R.D. at 477; see also ScripsAmerica, 119 F. Supp. 3d at 1257; Serfaty,

180 F.R.D. at 423; O'Neil, 165 F.R.D. at 503. Given the “numerous days” on which “statistically

significant price movement was not associated with a news event,” Plaintiffs cannot show the

Cassava market was efficient. George, 2013 WL 3357170, at *12.

                3.      Plaintiffs’ Expert’s Analysis of the Cammer and Krogman Factors Is
                        Otherwise Fatally Flawed

         Even beyond ignoring blatant signs of inefficiency, Plaintiffs’ Cammer and Krogman

analysis is insufficient and flawed.

         First, Dr. Feinstein fails to analyze the effect of high borrowing costs on the ability to short

Cassava’s stock during the class period. See Stulz Rpt. ¶¶ 96-108. Dr. Feinstein points to Cassava’s

high level of short interest, asserting it “evinces the presence of likely arbitrage[] activity.”

Feinstein Rpt. ¶ 101. But Dr. Feinstein engages in zero analysis of barriers that market participants

faced in shorting Cassava’s stock. See Stulz Rpt. ¶¶ 96-108. Throughout the class period, the

supply of Cassava shares available for short sellers to borrow was limited, greatly increasing costs.

See id. Exs. 8-9. Indeed, the cost of borrowing to short Cassava stock exceeded 70% during part

of the class period, well above the 99th percentile of U.S. stocks (which is about 15%). See id. Ex.

10. These costs undermined short sellers’ ability to exploit and correct market inefficiencies during



                                                   18
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the class period. See id. ¶¶ 100-08; see In re PolyMedica Corp. Sec. Litig., 453 F. Supp. 2d 260,

278 (D. Mass. 2006) (finding that “significant barriers to short selling” prevented conclusion that

market was efficient). Dr. Feinstein fails to analyze or even acknowledge this fact.

       Second, Dr. Feinstein also fails to consider the impact of reduced and changing analyst

coverage during the class period. See Stulz Rpt. ¶¶ 109-13. Dr. Feinstein notes that six analysts

covered Cassava during the class period, Feinstein Rpt. ¶¶ 84-86, but ignores that for most of the

class period no more than four analysts covered the stock, and that all but two of these analysts

dropped coverage before the end of the class period, see Stulz Rpt. ¶¶ 109-13. Moreover, in

dropping coverage, analysts noted an inability to “effectively diligence” information about

Cassava. See id. ¶ 112. Dr. Feinstein has not conducted any analysis to separately establish

efficiency during the later portion of the class period, when information about Cassava became

more difficult to acquire and assess.

               4.      Plaintiffs’ Expert Also Fails to Demonstrate that the Markets for
                       Cassava Options Were Efficient During the Class Period

       Plaintiffs also fail to show that the markets for Cassava options were efficient during the

class period. See Stulz Rpt. ¶¶ 114-58. Plaintiffs tie the supposed efficiency of the markets for

Cassava options to the supposed efficiency of the market for Cassava stock. Motion at 12; Feinstein

Rpt. ¶ 188. Their arguments thus fail for all the reasons discussed above. But even beyond that

basic flaw, Plaintiffs’ analysis of the markets for Cassava options is flawed in myriad other ways.

       Dr. Feinstein largely ignores the Cammer/Krogman factors when it comes to the markets

for Cassava options. See Stulz Rpt. ¶¶ 142-49. As to the “trading volume” factor, many Cassava

options traded quite infrequently during the class period. On average, Cassava options did not trade

on more than half of the total available trading days. See id. ¶ 149. Dr. Feinstein’s options event

study relies on option quotes (which are provided daily even in the absence of trades), rather than


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on actual transaction prices. Feinstein Rpt. ¶¶ 198-99. By relying on option quotes, Dr. Feinstein’s

event study masks the markets’ illiquidity and incorrectly implies that a market price has been

established even on days when no buying or selling took place. See Stulz Rpt. ¶¶ 22, 149.

       Bid-ask spreads for Cassava options were also consistently wide. See Stulz Rpt. Ex. 15.

Indeed, the average bid-ask spread was over 40% for both call options and put options during the

class period, and many Cassava options had average spreads exceeding 100%. See Stulz Rpt. Ex.

15. According to academic studies, the average bid-ask spread for options is much lower. Stulz

Rpt. ¶ 145 (noting the average is 21%). Dr. Feinstein considers none of these facts.

       The one Cammer factor Dr. Feinstein does attempt to address is Cammer factor 5, which

considers the cause-and-effect relationship between prices and disclosures. Feinstein Rpt.

¶¶ 193-218. But as with his event study for Cassava’s stock, Dr. Feinstein fails to consider the

relationship between social media activity and significant changes in Cassava’s option prices. And

instead of testing whether actual option prices responded to news, Dr. Feinstein used average

synthetic prices from his theoretical model based on market quotes rather than actual prices. This

approach ignores that many options did not necessarily trade on days with large stock price

movements or with news. See Stulz Rpt. ¶¶ 139, 141, 149. Dr. Feinstein’s model also ignores that

all of Cassava’s options could be exercised before maturity. See id. ¶ 140. Moreover, Dr.

Feinstein’s options event study fails to account for differences among the different series of

Cassava options, instead lumping all Cassava options into a single “market,” ignoring that different

options had radically different strike prices (ranging from $0.50 to $210.00), expiration dates, and

transaction costs, and traded at different frequencies. See id. ¶¶ 151-58.

       Plaintiffs thus fail to meet their burden to prove that the market for Cassava’s stock or the

market for Cassava’s options were efficient. Without an efficient market, classwide reliance goes

by the wayside, bringing Plaintiffs’ entire Motion down with it.

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       B.      Even if the Relevant Market Was Efficient, the Basic Presumption Would Be
               Readily Rebutted Due to a Lack of Price Impact

       “Price impact is…an essential precondition for any Rule 10b–5 class action.” Halliburton

II, 573 U.S. at 282. Although Basic can allow a plaintiff to “establish that precondition indirectly”

by demonstrating the relevant market is efficient, defendants may defeat the Basic presumption

“through evidence that an alleged misrepresentation did not actually affect the market price of the

stock.” Id. at 282, 284. “In assessing price impact at class certification, courts ‘should be open to

all probative evidence on that question—qualitative as well as quantitative—aided by a good dose

of common sense.’” Goldman, 594 U.S. at 122 (citation omitted). “The district court’s task is

simply to assess all the evidence of price impact—direct and indirect—and determine whether it

is more likely than not that the alleged misrepresentations had a price impact.” Id. at 126-27.

       Plaintiffs allege that Defendants’ misrepresentations “caused Cassava securities to trade at

artificially inflated prices” and that “when Defendants’ prior misrepresentations and omissions

were disclosed or otherwise leaked to the market,” Cassava’s stock price “declined significantly,

as the prior inflation came out of the price.” ECF 184 (“Compl.”) ¶ 495. Plaintiffs thus are

“proceeding under the inflation-maintenance theory” of fraud, where “price impact is the amount

of price inflation maintained by an alleged misrepresentation.” Goldman, 594 U.S. at 123. To

demonstrate price impact under that theory, Plaintiffs must “point to a negative disclosure about a

company and an associated drop in its stock price; allege that the disclosure corrected an earlier

misrepresentation; and then claim that the price drop is equal to the amount of inflation maintained

by the earlier misrepresentation.” Id. These are called “corrective disclosures.” Id. And such “a

disclosure is considered corrective only when it ‘reveals new facts that, taken as true, render some

aspect of the defendant's prior statements false or misleading.’” See In re Apache Corp. Sec. Litig.,

2024 WL 532315, at *10 (S.D. Tex. Feb. 9, 2024) (citation omitted) (emphasis added).


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       Under Plaintiffs’ expert’s discussion of market efficiency, a disclosure of new,

value-relevant information should be associated with statistically significant price changes.

Feinstein Rpt. ¶ 127. And as Dr. Feinstein explains, on the dates without statistically significant

price declines, there is no basis to conclude that the declines were anything other than random

variation in the stock price. See id. ¶ 127.

       Price impact is lacking here. Plaintiffs point to seventeen corrective disclosures, starting

with the Citizen Petition’s public release on August 24, 2021, and ending with an article in Science

Magazine on October 13, 2023. See Stulz Rpt. ¶ 161. Eleven of those seventeen corrective

disclosures—which relate to the exact research Plaintiffs allege Defendants misrepresented—are

not associated with any statistically significant decline in the price of Cassava’s stock. Moreover,

there is a glaring “mismatch between the contents of the misrepresentation[s]” and four additional

“corrective disclosure[s]” alleged by Plaintiffs, which “break[s] down” any speculative inference

that the alleged misrepresentations “maintained” any inflation in Cassava’s stock price. Goldman,

594 U.S. at 123. In short, the available evidence associated with the vast majority (15 of 17) of

Plaintiffs’ hand-picked “corrective disclosures” supports a finding of no price impact.

               1.      The Bulk of Plaintiffs’ Alleged “Corrective Disclosures” Are Not
                       Associated With Any Statistically Significant Decline in Stock Price

       Most of the alleged “corrective disclosures” relating to both pre-clinical research and Phase

2a and 2b trials are associated with no statistically significant drop in Cassava’s price.

       Pre-Clinical Research. Plaintiffs allege that on December 9, 2021, Drs. Bredt and Pitt filed

the fourth supplement to the Citizen Petition, which allegedly “revealed ‘irrefutable evidence of

data manipulation/fabrication’ in a fundamental experiment found in Cassava’s 2017

Neurobiology of Aging paper demonstrating simufilam’s purported method of action for treating

Alzheimer’s disease.” Compl. ¶ 31. Specifically, Plaintiffs allege that the supplement identified


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“insurmountable problems” with Cassava’s testing methodology that “invalidate[d] the study” and

“undercut” whether simufilam binds to Filamin A (how the drug is thought to treat the disease).

Id. ¶¶ 380-84. Yet no statistically significant decline of Cassava’s stock followed the supplement’s

release. Stulz. Rpt. ¶ 165.

       Also lacking in price impact are the alleged “corrective disclosures” from when journals

that published simufilam’s pre-clinical research either retracted articles or issued statements of

concern in response to allegations of manipulation. Specifically, Plaintiffs allege that on December

17, 2021, and January 3, March 22, March 30, and June 1, 2022, the Journal of Neuroscience,

Molecular Neurodegeneration, Neurobiology of Aging, Plos One, and Alzheimer’s Research &

Therapy retracted a total of seven papers and issued statements of concern about two more.

See Compl. ¶¶ 357-60; 408-10; 414-18; 423-24; 433-34. Again, no statistically significant

decrease in Cassava’s stock followed any of these disclosures. Stulz Rpt. ¶ 165.

       The same failing exists for the allegation that on November 10 and December 21, 2021,

Drs. Bredt, Pitt, and Bik stated that the original images that Defendants had provided to journals

to refute the allegations of image manipulation “were in fact composites of cropped images, and

thus not originals at all.” See Compl. ¶¶ 344-49; 386-90. Yet again, no statistically significant

decrease in Cassava’s stock followed these alleged corrective disclosures. Stulz Rpt. ¶ 165.

       Phase 2a and 2b Trials. On August 30, 2021, Drs. Bredt and Pitt submitted the first

supplement to the Citizen Petition. Plaintiffs allege that the supplement “reported that the poster

Cassava presented” on July 26, 2021, which was also mentioned briefly in the original Citizen

Petition, “contained data discrepancies…including a missing data point” the supplement alleged

was significant enough to negate certain biomarker results. Compl. ¶ 328.

       The same day, Dr. Elizabeth Bik, a microbiologist with a daily blog, published a blog post

that Plaintiffs allege revealed additional issues with the July 26, 2021 poster, stating that a data

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point had been “inserted into the placebo group rather than the 100mg group where it belonged,”

resulting in a “much less spectacular reduction of” a biomarker’s levels than claimed. Id. ¶ 222.

Plaintiffs further allege that on September 3, 2021, Mr. Barbier agreed that the data discrepancies

identified by Drs. Bredt, Pitt, and Bik were errors. Neither the August 30 nor the September 3

disclosures are associated with any statistically significant price decline in Cassava stock. Stulz

Rpt. ¶ 164.

       The supplement also targeted the Phase 2a clinical trial results, alleging that an image in a

2020 publication associated with the Phase 2a trial data showed signs of manipulation, casting

doubt on “the integrity of these phase 2a data.” Compl. ¶ 242. This disclosure also is not associated

with any statistically significant price decline in Cassava stock. Stulz Rpt. ¶ 164.

       In light of the market’s nonreaction to these disclosures, each of which goes to the heart of

what Plaintiffs allege Defendants misrepresented, there is no basis to conclude that the purported

misrepresentations inflated Cassava’s stock price.

               2.      There Is a Glaring Mismatch Between the Misrepresentations and
                       Corrective Disclosures Alleged by Plaintiffs

       There also is a fundamental “mismatch between the contents of the misrepresentation[s]

and corrective disclosure[s]” Plaintiffs allege, further “breaking down” any inference that the

alleged misrepresentations “maintained” any inflation in Cassava’s stock price. Goldman, 594 U.S.

at 123; see In re Apache Corp. Sec. Litig., 2024 WL 532315, at *11 (finding defendants rebutted

Basic presumption due to “mismatch” between alleged misrepresentations and corrective

disclosures). Plaintiffs’ alleged misstatements overwhelmingly concern simufilam’s supposedly

manipulated research and trial results. See Compl. ¶¶ 268-413. But, in many instances, the alleged

corrective disclosures fail to address those specific alleged misstatements. And this is especially




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true of four of the six alleged corrective disclosures that were associated with statistically

significant drops in Cassava’s stock price.

       For instance, Plaintiffs allege that on August 27, 2021, Quanterix Corporation, a

biochemical testing company, announced that it “did not interpret the Company’s clinical data or

prepare the charts contained in Cassava’s July 26, 2021 AAIC presentation.” Compl. ¶ 323. But

that statement by Quanterix did not correct any statement that Defendants had made. The only

statement Cassava made about Quanterix’s testing was in a press release two days before

Quanterix’s; that its “plasma p-tau data from Alzheimer’s patients was generated by [Quanterix],

an independent company, and presented at the recent [AAIC].” Id. ¶ 317. That is

unequivocally true.

       Similarly, on November 17, 2021, and July 27, 2022, the Wall Street Journal and Reuters

reported that the SEC, National Institutes of Health, and DOJ were investigating Cassava. See id.

¶¶ 367-71; 435-37. But the only public statement that Cassava made about government

investigations during the proposed class period was on November 15, 2021, just two days before

the Wall Street Journal article, that “[c]ertain government agencies have asked [Cassava] to

provide them with corporate information and documents.” Id. ¶ 363. That is also true.

       Finally, Plaintiffs allege that on October 12, 2023, Science published an article that

discussed a “50-page report” purportedly issued by CUNY following an investigation into

Dr. Wang. See id. ¶ 506. According to the Court, the new information in the Science article was

that “Dr. Wang could not provide any original data for any of the foundational Cassava research

alleged to have been manipulated.” ECF 175 at 11. But as Plaintiffs themselves allege, Mr. Barbier

told the public on September 3, 2021 that Cassava did not have “the original films or images for

the Western blots in question” and that “[t]hose were generated by our science collaborator at




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CUNY, who is Prof. Wang.” Id. ¶ 458. Again, Cassava’s statement was true and was consistent

with the alleged “corrective” disclosure.

       All this evidence shows “it is more likely than not” that the alleged misrepresentations did

not have a price impact. See Goldman, 594 U.S. at 126-27. Indeed, the vast majority of times when

Defendants’ alleged misrepresentations were purportedly corrected, the market did not react in any

statistically significant way. Thus, even if Plaintiffs could somehow show an efficient market

despite overwhelming contrary evidence, the Basic presumption would be rebutted due to lack of

price impact. See Arkansas Tchr. Ret. Sys. v. Goldman Sachs Grp., Inc., 77 F.4th 74, 105 (2d Cir.

2023) (rejecting class certification due to “insufficient link between the corrective disclosure and

the alleged misrepresentations”); see also In re Apache Corp. Sec. Litig., 2024 WL 532315, at *11.

       C.      Plaintiffs Are Not Entitled to a Presumption of Reliance Under Affiliated Ute

       Plaintiffs’ attempt to rely on Affiliated Ute likewise fails because Plaintiffs’ claims are

firmly anchored in Defendants’ alleged affirmative misstatements.

       Under Affiliated Ute, courts may presume reliance in scheme-liability cases, 19 but only

those “in which the plaintiffs have based their complaint primarily upon alleged omissions.” Abell

v. Potomac Ins. Co., 858 F.2d 1104, 1119 (5th Cir. 1988), cert. granted, judgment vacated on other

grounds sub nom. Fryar v. Abell, 492 U.S. 914 (1989); see also Waggoner v. Barclays PLC, 875

F.3d 79, 95 (2d Cir. 2017) (explaining that Ute presumption applies only if the case primarily

involves “a failure to disclose,” rather than “affirmative misrepresentations”). The Ute



19
   The Ute presumption cannot apply in Rule 10b-5(b) cases because “a subsection [(b)] claim
always rests upon an affirmative statement of some sort, reliance on which is an essential element
plaintiff must prove,” and therefore, “the [Ute] presumption could be warranted only under [Rule
10b-5] subsections [(a)] and [(c)].” Smith v. Ayres, 845 F.2d 1360, 1363 (5th Cir. 1988). To the
extent that Plaintiffs seek to assert a claim under Rule 10b-5(b), see Compl. ¶ 522, and seek to
avail themselves of the Ute presumption, the two positions are mutually exclusive and one (or
both) must fail.

                                                26
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presumption exists because “when no positive statements [are] made” at all, requiring plaintiffs to

prove reliance “on what was not said” is often “impossible or impractical.” In re Volkswagen

“Clean Diesel” Mktg., Sales Pracs., & Prod. Liab. Litig., 2 F.4th 1199, 1205 (9th Cir. 2021).

        Seeking to invoke the Ute presumption, Plaintiffs try to contort this misrepresentation case

into an omission case by asserting that Defendants failed to disclose “a scheme ‘to promote the

continued development of an experimental.’” Motion at 18. But courts of appeals—including the

Fifth Circuit—have unanimously held that plaintiffs cannot “transform affirmative misstatements

into implied omissions” simply by contending that a defendant “fail[ed] to disclose which facts in

the representation are not true.” Waggoner, 875 F.3d at 96; see Akin v. Q-L Invs., Inc., 959 F.2d

521, 530 (5th Cir. 1992) (“It is not enough that a claim has aspects of omission—at a sufficiently

high level of generality, they all do.”). 20 Instead, for the Ute presumption to apply, the case must

be “grounded primarily in allegations that the defendant has failed to disclose any information

whatsoever relating to material facts about which the defendant has a duty to the plaintiff to

disclose.” Abell, 858 F.2d at 1119 (emphasis added).

        Ute simply does not apply when a case involves alleged false or misleading statements

about significant material facts. See id. 21 That is the case here. Plaintiffs’ entire theory of fraud is

based on alleged misleading statements about the support that pre-clinical and clinical research


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   See also Volkswagen, 2 F.4th at 1205; In re Interbank Funding Corp., 629 F.3d 213, 219-21
(D.C. Cir. 2010); Johnston v. HBO Film Mgmt., 265 F.3d 178, 193 (3d Cir. 2001); Joseph v. Wiles,
223 F.3d 1155, 1162 (10th Cir. 2000); Cavalier Carpets, Inc. v. Caylor, 746 F.2d 749, 756-57
(11th Cir. 1984); Vervaecke v. Chiles, Heider & Co., 578 F.2d 713, 717 & n.2 (8th Cir. 1978).
21
   In Abell, bond offering statements issued by the defendants failed to disclose material facts about
the project and represented that the project was financially feasible. 858 F.2d at 1119. The plaintiff
bondholders argued that the Ute presumption applied because the defendants concealed that the
project was not, in fact, feasible. Id. The Fifth Circuit acknowledged that the defendants had
omitted material facts, but concluded the plaintiffs failed to establish that the case “primarily”
involved omissions. The court explained: “The bondholders have not argued that [the developer]
failed to disclose facts about which the investors had no inkling, but that [it] purposely revealed
only part of the truth in an effort to mislead potential purchasers.” Id.

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provided to simufilam’s potential efficacy. See, e.g., Compl. ¶¶ 268-315; see also Motion at 3

(“Throughout the Class Period, Defendants carried out their scheme, repeatedly assuring investors

of simufilam’s results.…” (emphasis added)). Plaintiffs cannot now convert a case based on

affirmative statements into one based on omissions simply by alleging that the affirmative

statements did not include certain information. See Akin, 959 F.2d at 530 (holding that claim

sounded in misrepresentation when the alleged “wrong lie[d] in…distorting the numbers

underlying” the disclosure). 22

       The Ute presumption thus cannot solve the reliance problems that plague Plaintiffs’ case.

II.    Plaintiffs Fail to Provide a Classwide Damages Methodology Consistent with Their
       Theory of Liability

       Plaintiffs’ proposed class also, independently, cannot be certified because Plaintiffs fail to

establish that classwide damages can be calculated consistent with their theory of liability.

       “Even where plaintiffs seeking class certification show that common issues predominate

on questions of liability, they must also present a damages model ‘establishing that damages are

capable of measurement on a classwide basis.’” Cruson v. Jackson Nat'l Life Ins. Co., 954 F.3d

240, 258 (5th Cir. 2020) (quoting Comcast Corp. v. Behrend, 569 U.S. 27, 34 (2013)). Any “model

purporting to serve as evidence of damages in [a] class action must measure only those damages

attributable to [the plaintiffs’] theory” of liability. Comcast, 569 U.S. at 35. “If the model does not

even attempt to do that, it cannot possibly establish that damages are susceptible of measurement




22
   Plaintiffs’ claims are nothing like those in Affiliated Ute. There, the defendants, a bank and its
assistant managers, were transfer agents for the plaintiffs’ shares in certain assets of the Ute Indian
Tribe. 406 U.S. 128, 133-38. The bank’s assistant managers purchased shares for themselves and
facilitated the sale of shares on the secondary market, without disclosing that they solicited
purchasers for the shares or that the shares were worth more than what the plaintiffs received. Id.
at 145-48.

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across the entire class for purposes of Rule 23(b)(3).” Id.; see also In re BP p.l.c. Sec. Litig., 2013

WL 6388408, at *17 (S.D. Tex. Dec. 6, 2013).

       “Following Comcast, circuit and district courts have rigorously examined proposed

damages methodologies in putative class action cases for disconnects between damages and

liability” and have not hesitated to deny class certification on that ground. In re BP p.l.c. Sec.

Litig., 2013 WL 6388408, at *17 (collecting cases). “Plaintiffs cannot avoid this hard look by

refusing to provide the specifics of their proposed methodology” at the class certification stage.

Id. Yet that precisely is what Plaintiffs and Dr. Feinstein try to do here.

       Plaintiffs do not demonstrate how they will model damages. Dr. Feinstein skips this

analysis, stating only that he will use the “out of pocket” method to calculate damages. Dr.

Feinstein described this method at his deposition: “[T]he methodology is to use…the information

set that’s available to investors each day of the class period and assess, using all tools available,

what would the stock price have been had there been no misrepresentations or omissions.” Ex. 2

at 251:20-252:8; see also Feinstein Rpt. ¶ 225; Stulz Rpt. ¶¶ 174-77.

       Dr. Feinstein has tried this approach before—hiding behind vague references to

unspecified “valuation tools” and “economic analyses,” Feinstein Rpt. ¶¶ 219-32—and had it

rejected. One Ohio federal court found that Dr. Feinstein’s “vague, indefinite, and unspecific”

opinion failed to comply with Comcast, as it “amount[ed] to no damages model at all.” Ohio Pub.

Emps. Ret. Sys. v. Fed. Home Loan Mortg. Corp., 2018 WL 3861840, at *19 (N.D. Ohio Aug. 14,

2018). That court was neither the first nor last to reject Dr. Feinstein’s opinion as a basis for

certification. See In re Vale S.A. Sec. Litig., 2022 WL 122593, at *12 (E.D.N.Y. Jan. 11, 2022),

report and recommendation adopted, 2022 WL 969724 (E.D.N.Y. Mar. 31, 2022) (rejecting Dr.

Feinstein’s opinion as “black box-like, unverifiable, standardless, and subjective”); Sicav v. James

Jun Wang, 2015 WL 268855, at *6 (S.D.N.Y. Jan. 21, 2015) (similar).

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       As these federal courts recognized, Dr. Feinstein’s “methodology” amounts to nothing

more than: “trust me, I’m an expert.” That will not do. In re Vale S.A. Sec. Litig., 2022 WL 122593,

at *12. Indeed, the problems with Dr. Feinstein’s failure to present a model for calculating

classwide damages are even more pronounced on the unusual facts of this case.

       First, Dr. Feinstein’s generic discussion of damages fails to explain how, when estimating

inflation, he will account for issues that arise from the absence of statistically significant price

drops associated with the majority of Plaintiffs’ alleged corrective disclosures. See Stulz Rpt.

¶ 167. On the dates without statistically significant price declines, there is no basis to conclude

that declines were not caused by random variation in the stock price. See id. ¶¶ 24, 159, 167. Thus,

if the market for Cassava’s stock were efficient, as Dr. Feinstein claims, Plaintiffs have not shown

how it is possible to use disclosures that lack statistically significant price changes to estimate the

removal of inflation. See id. ¶¶ 160, 167.

       Second, Dr. Feinstein does not explain how he can account for changes over the proposed

class period in what Cassava could have disclosed. To calculate damages as inflation at purchase

less inflation at sale (the “out-of-pocket” method Dr. Feinstein describes), Dr. Feinstein would

need to measure inflation on each day of the proposed class period. But Cassava’s meme-stock

status clashes with Dr. Feinstein’s plan to work “chronologically backwards” using the price

declines on the alleged corrective disclosure days. Feinstein Rpt. ¶ 230. In fact, it leads to absurd

results. Cassava’s stock price increased precipitously in 2021, and then experienced similarly

precipitous price declines in late summer 2021 that Plaintiffs attribute to corrective disclosures. If

those summer 2021 dates are used to measure damages, as Dr. Feinstein contemplates, his method

suggests that Cassava’s stock price must have been negative for much of the first year of the class

period, but for the alleged misrepresentations. See Stulz Rpt. ¶¶ 28, 172, 203.




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       Third, Dr. Feinstein does not explain how he will determine the degree to which price

declines on corrective disclosure dates are due to corrective information rather than other forces.

See Stulz Rpt. ¶¶ 187-200. His model depends on estimating the price decline on the alleged

corrective disclosure dates that is attributable only to the correction of the alleged fraud. But he

does not explain how he will do that here.

       For example, Dr. Feinstein does not explain how he will isolate the decline (if any) caused

by the allegedly corrective information in the Citizen Petition, which was published when

Cassava’s stock was in the midst of meme-stock frenzy. When the Citizen Petition was published

on August 24, 2021, Cassava’s stock price was experiencing extreme, retail-trader fueled

volatility. In fact, just three weeks prior, Cassava’s share price had fallen more 50% on news that

analysts universally considered positive. And on August 25, Business Insider recognized Cassava

as one of the top-mentioned stocks on WallStreetBets. Ex. 12.

       Following the Citizen Petition, neither JonesTrading, H.C. Wainwright, or Maxim Group,

three highly reputable market analysts, changed their price targets for Cassava. 23 At the same time,

the FDA foreshadowed its later denial of the Citizen Petition when on August 24, nearly a week

after the FDA received the Citizen Petition, it granted Cassava’s Phase 3 trials a Special Protocol

Assessment (SPA), a binding agreement that the design and analysis of the trials are adequate.

See Ex. 23 (August 24, 2021 Press Release). Logic and evidence thus dictate that some, if not all,




23
   See Exs. 19-20 (JonesTrading); Ex. 21 (H.C. Wainwright); Ex. 22 (Maxim). JonesTrading, for
instance, emphasized that “[c]linical data is king” and specifically explained that JonesTrading’s
“focus squarely remain[ed] on” the Phase 2 open label trial, which “is conducted in 16 centers”
and “all statistical analysis is conducted by an outside firm that is unaffiliated with Cassava.”
Ex. 19. The analyst also disclaimed any importance of the Phase 2a or 2b clinical trials in the
valuation of Cassava, saying: “We have not given any merit to the biomarker data presented so
far.” Ex. 20.

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of the price drop following the Citizen Petition was due to the same meme-stock phenomenon that

drove the stock’s volatility for the prior eight months. But Dr. Feinstein’s report ignores this. 24

       Fourth, Dr. Feinstein does not explain how he can estimate damages associated with each

category of alleged misrepresentations. As discussed above, Plaintiffs allege that Defendants

misrepresented a variety of pre-clinical and clinical research, and that Defendants made further

misrepresentations following the Citizen Petition to “stem the losses.” E.g., Motion at 5. Plaintiffs’

damages methodology must identify the amount of inflation that is attributable only to Defendants’

actionable misrepresentations, which may be only a subset of those alleged. See Comcast, 569

U.S. at 34-36; see also In re BP p.l.c. Sec. Litig., 2013 WL 6388408, at *17 & n.16 (“Comcast

suggests that a damages model which cannot accommodate variations in the liability findings may

be grounds for decertification at a subsequent stage of the case.”)

       For example, Plaintiffs allege Dr. Wang’s conflicts of interest as one category of alleged

misrepresentations. Plaintiffs do not allege, however, that there is any day when the only corrective

disclosure related to those conflicts. See Compl. ¶¶ 12-13, 28, 58, 370. Instead, on the two dates

when information related to Dr. Wang’s conflicts was allegedly disclosed, information related to

other categories of allegations was also disclosed. See Stulz Rpt. ¶¶ 181, 184. Dr. Feinstein fails

to explain how he could isolate the removal of inflation for only Dr. Wang’s conflicts.

       Segregating damages by misrepresentation in this case will face insurmountable

challenges. Many of the alleged corrective disclosures include information about different aspects


24
  Moreover, Dr. Feinstein fails to explain how his damages methodology could reliably measure
the impact of the corrections from the impact of uncertainty associated with government
investigations. See Stulz Rpt. ¶¶ 193-95. Analysts discussed how government investigations
impacted Cassava’s research on simufilam because they “materially impacted the ability of the
ongoing phase 3 program in Alzheimer’s disease to enroll patients.” E.g., Exs. 22, 24. But a
company’s stock price could decline following the announcement of an investigation, even if
market participants believed there was no merit to the government’s claims. Dr. Feinstein makes
no effort to distinguish the impact of these forces.

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of simufilam’s mechanism of action. The same disclosures allegedly correct information about

multiple aspects of both the Phase 2a and 2b clinical trials, including different tests and different

metrics within the same tests. See, e.g., Compl. ¶¶ 316-36, 380-85, 423-34. Dr. Feinstein fails to

explain what “valuation tools” could estimate the impact of corrective disclosures related to these

highly granular distinctions in the alleged misrepresentations.

       This challenge will be further complicated by the way the market valued Cassava’s stock.

Even when Cassava’s stock reacted to news, the price was based on speculative assessments about

simufilam’s chances of approval. As Dr. Feinstein explains, “[w]hat mattered most to analysts and

investors about Cassava during the Class Period was the likelihood that simufilam was progressing

towards regulatory approval and eventual commercialization.” Feinstein Rpt. ¶ 135. That

probability was exceedingly difficult to assess. Simufilam was, during the class period, in the early

stages of development. There is no universal rubric to which investors could point to evaluate

simufilam’s chances of approval. Instead, the market consisted of a soup of varying opinions about

what did and did not matter, which constantly shifted, day-to-day and investor-to-investor. Simply

put, determining what early clinical data says about a drug’s approval chances is an exceptionally

nuanced exercise, and Dr. Feinstein does not acknowledge these nuances, let alone articulate how

to account for them. 25

       Though Dr. Feinstein testified that his methodology reflects “an understanding of the

Plaintiffs’ theory of liability,” Ex. 2 at 237:7-14; 238:16-20, his description of his damage



25
   By way of just one of many examples, biomarker data was, at the time of the Phase 2a and 2b
trials, cutting-edge and controversial. The FDA did not consider biomarker data as a viable
endpoint for efficacy in drug candidates for Alzheimer’s, which was reflected in FDA guidance
during the class period. Ex. 25 (Feb. 2018 FDA guidance). The FDA has since changed its tune,
recognizing in new guidance that biomarker data has become a more reliable source. Ex. 26 (Mar.
2024 FDA guidance). There is little doubt that sophisticated biomedical investors would
understand these nuances and disagree over their import.

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methodology provides only a generic description of his approach. He fails to explain how he would

tailor generic approaches to the specific features of this case. In fact, Dr. Feinstein conceded that

the only line in the entire discussion of his proposed damages methodology that was “specific to

Cassava and the alleged misrepresentations and corrective disclosures here” was the conclusory

statement that his methodology was “consistent in this case with these Plaintiffs’ theory of

liability.” Ex. 2 at 237:7-14; 238:16-20. That is plainly insufficient.

       In short, as Dr. Stultz concludes, Dr. Feinstein’s “vague and generic references to the

standard tools of financial economics and calculating inflation by ‘working chronologically

backwards from the final corrective disclosure’ do not represent a methodology that a financial

economist could implement to reliably measure damages in a manner consistent with Plaintiffs’

theory of liability.” Stulz Rpt. ¶ 178. Plaintiffs therefore have failed to prove that classwide

damages can be calculated consistent with their theory of liability, and for that reason alone their

Motion should be denied. See Comcast, 569 U.S. at 35; In re BP p.l.c. Sec. Litig., 2013 WL

6388408, at *17; Turnbow v. Life Partners, Inc., 2013 WL 3479884, at *15-18 (N.D. Tex.

July 9, 2013).

III.   Plaintiffs Fail to Establish Rule 23(a)’s Typicality Requirement

       Plaintiffs also fail to prove that their claims are “typical of those of the class.” Fed. R. Civ.

P. 23(a). Typicality “focuses on the similarity between the named plaintiffs’ legal and remedial

theories and the theories of those whom they purport to represent.” Griffin v. GK Intelligent Sys.,

Inc., 196 F.R.D. 298, 301 (S.D. Tex. 2000) (internal quotation marks omitted); see also In re

HealthSouth Corp. Sec. Litig., 213 F.R.D. 447, 458 (N.D. Ala. 2003). In a securities class action,

if class representatives and the class are not subject to the same presumptions of reliance, typicality

is not established. E.g., Griffin, 196 F.R.D. at 301 (finding class representative who purchased

shares “over-the-counter” not typical of purchasers buying on a major exchange); In re

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bought and sold more than $100,000 in Cassava stock—

         —in a single day. 47

        Mr. Calderone testified that he would have continued to trade in this fashion—and would

have sold his entire position of 1,000 shares in Cassava within days—except that on July 29-30,

2021, Cassava’s stock fell by roughly 50%. 48 Mr. Calderone testified that this loss was the sole

cause of his damages. 49 Plaintiffs’ Complaint, however, alleges no corrective disclosure on these

dates. Regardless, and consistent with the enormous volatility in Cassava stock in the summer of

2021, Cassava’s stock almost fully recovered that 50% drop within two weeks, at which point Mr.

Calderone admitted that he could have exited his position with effectively no loss. 50 But Mr.

Calderone held his 1,000 Cassava shares because he was betting the stock would continue to

increase. 51

        Indeed, Mr. Calderone believes to this day that Cassava’s stock is undervalued and will go

higher. 52 He has continued to purchase shares in Cassava, including just weeks after the Complaint

was filed. 53

        Mohammed Rao. Mr. Rao employed a similarly risky strategy.




47
   Ex. 4 at 195:23-196:22, 202:5-11.
48
   Id. at 209:7-12, 211:11-212:24.
49
   Id. Specifically, Mr. Calderone testified that his practice was to set an 8% stop loss on his
Cassava trades, which would have caused his stock to automatically sell at approximately $116
per share on July 29, 2021, but that the stop-loss was not effective because the stock price sank
after trading hours. Id. at 211:21-212:24, 225:3-226:17, 270:21-271:23.
50
   Id. at 214:1-22, 224:3-225:19.
51
   Id.
52
   Id. at 217:1-218:8.
53
   Mr. Calderone bought 200 shares in September 2022, a month after filing the Complaint in this
case; he bought another 100 shares in May 2023; he bought 125 shares in late October 2023, after
the end of the class period; and he bought 5 shares in December 2023. Id. at 274:12-275:8,
277:5-279:1, 279:25-280:5; ECF No. 129-5 (Calderone Declaration) at 5.

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                                                                   . 54

        In July and August 2021, Mr. Rao aggressively applied this strategy to Cassava options,

often selling hundreds of put contracts at a time that would force him to dedicate his entire account

to the purchase of Cassava stock if the contracts came due. 55 In one such trade on August 23, Mr.

Rao sold 201 put contracts obligating him to buy 20,100 shares of Cassava stock at $95 per share

if the price dropped below that level before August 27, a move Mr. Rao admitted was “extremely

risky” given the stock’s performance. 56 Mr. Rao could not recall doing any diligence on Cassava

before these trades and mistakenly believed that simufilam was already FDA approved. 57

       Each Plaintiffs’ trading history is indicative of reckless, high-volume trading by retail

traders seeking to profit from short-term volatility in a meme stock. Such trading patterns “raise

individualized questions regarding why they made their investments…and whether they have

negative loss causation,” defeating typicality. See IBEW Loc. 90 Pension Fund v. Deutsche Bank

AG, 2013 WL 5815472, at *22 (S.D.N.Y. Oct. 29, 2013) (rejecting class certification on that

ground); see also Ellis v. Costco Wholesale Corp., 657 F.3d 970, 985 (9th Cir. 2011); Gary Plastic

Packaging Corp. v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 903 F.2d 176, 180 (2d Cir. 1990).




54
   Ex. 5 (Rao Depo. Tr.) at 77:16-78:6, 250:7.
55
   E.g., id. at 355:18-23.
56
   Id. at 355:24-356:1. Mr. Rao took this gamble even though Cassava’s share price had plummeted
just weeks earlier following good news, closing at $69 on July 30, 2021 (the day Mr. Calderone
claims he suffered his losses) after hitting an intraday high of $146 the day before. Id. at 300:6-9.
As a result, on August 27, Mr. Rao was forced to purchase $1.9 million of Cassava stock at $95
per share after the stock fell following the public release of the Citizen Petition. Id. at 326:18-21.
Rao then sold all that stock on the same day at a significant loss. Id. at 328:22-329:11.
57
   Id. at 212:18-23.

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       Further, each of Plaintiffs’ damages claims raises unique issues. Mr. Calderone contends

that his damages stemmed from the July 30, 2021 stock drop, which was not associated with any

alleged misrepresentation in this case. Mr. Bozorgi blames his losses on his broker liquidating his

Cassava stock at an inopportune time. And Mr. Rao’s losses are attributable only to his incredibly

risky options bet. Accordingly, their damages theories are atypical of the class. See Shannon v.

Allstate Ins. Co., 2024 WL 1080915, at *8 (W.D. Tex. Jan. 31, 2024) (rejecting class certification

because plaintiffs failed to show their damages were “typical of other class members.”)

                                        CONCLUSION

       For these reasons, the Court should deny Plaintiffs’ Opposed Motion for Class

Certification.




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Dated: June 28, 2024                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

The undersigned certifies that on June 28, 2024, a true and correct copy of the foregoing was

served electronically upon each attorney of record via email.

                                                    /s/ Gregg Costa_____________________
                                                    Gregg Costa




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